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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


ASSOCIATED MORTGAGE BANKERS, INC.,              )
                                                )
              Plaintiff,                        )
      v.                                        )
                                                )
BEN CARSON, in his official capacity as         )
                                                     Civil Action No. 17-cv-00075 (ESH)
SECRETARY OF THE U.S. DEPARTMENT OF             )
HOUSING AND URBAN DEVELOPMENT,                  )
                                                )
and                                             )
                                                )
U.S. DEPARTMENT OF HOUSING AND URBAN            )
DEVELOPMENT,                                    )
                                                )
              Defendants.                       )
                                                )

                    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                        MOTION FOR RECONSIDERATION

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       Defendants, the United States Department of Housing and Urban Development and Ben

Carson in his official capacity as its Secretary (together, HUD or the Defendants), respectfully

oppose Plaintiff’s Motion for Reconsideration Regarding the Court’s September 20, 2017 Order

(the Motion). Dkt 24.

                                       INTRODUCTION

       AMB’s motion for reconsideration is not based on any intervening change in law or fact.

AMB instead seeks reconsideration because it thinks the Court clearly erred. The Court did not

err. The Court correctly determined that it lacks jurisdiction to hear AMB’s breach of contract

claim. That claim seeks the equivalent of money damages, which the Tucker Act makes the

exclusive province of the Court of Federal Claims. Dismissing that claim with prejudice was

also correct, because it prevents AMB from refiling the claim in this Court. The Court also

correctly observed that the narrow remaining claim under the Administrative Procedure Act

(APA) – limited to review of the Administrative Judge (AJ) Decision – is not amenable to class

treatment. AMB was the only party to the AJ Decision and is the only party that can appeal that

decision to this Court. Denying AMB an opportunity to make a futile motion for certification in

these circumstances did not deprive it of any due process right.

                               PROCEDURAL BACKGROUND

       On September 20, 2017, the Court issued its Order granting in part and denying in part

Defendants’ motion to dismiss the original complaint. Dkt 23. The Order dismissed AMB’s

claim for breach of the implied covenant of good faith and fair dealing for lack of jurisdiction.

Order at 7–8. The Court explained that, absent an independent source of jurisdiction, the Tucker

Act provides exclusive jurisdiction for contract claims that “in essence seek[] more than $10,000



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in monetary relief from the government.” Order at 7. The Court further explained that the

“requested relief must have ‘considerable value independent of any future potential for monetary

relief’ to escape the Tucker Act’s exclusive jurisdiction.” Order at 8 (quoting Kidwell v. Dep’t of

Army, Bd. for Corr. of Military Records, 56 F.3d 279, 284 (D.C. Cir. 1995)). The Court found

that AMB’s contract claim did not have “considerable value independent of its future potential

for monetary relief,” and thus dismissed the claim as falling within the Tucker Act jurisdiction.

See Order at 7–8.

       The Court allowed AMB’s APA claim to proceed to summary judgment under an

arbitrary-and-capricious standard. The Court held: “Count II [the contract claim], and all relief

related to an alleged breach of contract by HUD, is dismissed with prejudice. Plaintiff’s

challenge under the APA only remains cognizable as a claim to the extent it challenges the AJ’s

decision as arbitrary and capricious.” Order at 13. With the case narrowed to review of the AJ

Decision, the Court further observed that “[t]he parties are not litigating a breach of contract

action before this Court. This action will not include discovery or class certification. After the

administrative record is filed, the Court will decide whether the AJ reached her decision in an

arbitrary and capricious manner, or otherwise violated an applicable statute or regulation.”

Order at 13.

                                          ARGUMENT

       I.      Legal Standard

       “[R]econsideration of a judgment after its entry is an extraordinary remedy which should

be used sparingly.” Mohammadi v. Islamic Republic of Iran, 782 F.3d 9, 17 (D.C. Cir. 2015)

(quoting 11 Charles Alan Wright et al., Federal Practice & Procedure § 2810.1 (3d ed. 2012)).

“In general, a court will grant a motion for reconsideration of an interlocutory order only when


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the movant demonstrates: (1) an intervening change in the law; (2) the discovery of new

evidence not previously available; or (3) a clear error in the first order.” In re McCormick &

Co., Inc., No. 15-1825, 2017 WL 3530063, at *4 (D.D.C. March 21, 2017) (Huvelle, J.) (quoting

Zeigler v. Potter, 555 F. Supp. 2d 126, 129 (D.D.C. 2008)). AMB does not argue an intervening

change in law or discovery of new facts; it instead relies exclusively on the third prong, and thus

must demonstrate “a clear error in the first order.” Id.

        II.     The Court Correctly Held that the Tucker Act Provides Exclusive
                Jurisdiction for Contract Claims Against the United States

        The Court correctly dismissed AMB’s good-faith-and-fair dealing claim for lack of

jurisdiction. Order at 7–8. The Court noted that the Tucker Act (28 U.S.C. § 1491) grants the

Court of Federal Claims exclusive jurisdiction over monetary contract claims against the United

States unless Congress has conferred jurisdiction on another court. Order at 7 (quoting Bowen v.

Massachusetts, 487 U.S. 879, 910 n.48 (1988)). In seeking reconsideration, AMB asserts that

the FHA sue-and-be-sued clause in 12 U.S.C. § 1702 grants jurisdiction to district courts over

monetary contract claims against the United States. Motion at 4–6. Further, although not argued

in the reconsideration motion, AMB’s complaint asserts that 28 U.S.C. § 1331, the general

subject-matter jurisdiction statute, grants jurisdiction over this suit. See Complaint. Neither

assertion is correct.

                A.      12 U.S.C. § 1702 Does Not Grant Subject-Matter Jurisdiction

        According to AMB, the sue-and-be-sued clause in 12 U.S.C. § 1702 provides this Court

with subject-matter jurisdiction to hear contract claims against the HUD Secretary. Motion at 5.

But this is plainly wrong, as demonstrated by the Supreme Court’s recent decision in Lightfoot v.

Cendant Mortg. Corp., 137 S. Ct. 553 (2017). There, the Supreme Court considered whether

Fannie Mae’s sue-and-be-sued clause in 12 U.S.C. § 1723a, which permits suit “in any court of
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competent jurisdiction,” granted federal courts subject-matter jurisdiction to hear claims against

Fannie Mae. 1 Id. at 559. A unanimous Court held that the phrase “court of competent

jurisdiction” refers to a court with an existing source of subject-matter jurisdiction. Id. at 561.

Thus, the Court concluded, in enacting § 1723a, Congress did not grant federal courts

jurisdiction to hear claims against Fannie Mae; rather, it merely permitted suit “in any state or

federal court already endowed with subject-matter jurisdiction over the suit.” Id. (emphasis

added).

          By the same token, when Congress enacted § 1702, it waived immunity for suit against

the HUD Secretary “in any court of competent jurisdiction,” but it did not grant subject-matter

jurisdiction to this or any other court. The Supreme Court’s Lightfoot decision is merely the

capstone to a long line of cases holding that § 1702 does not confer subject-matter jurisdiction.

See, e.g., C.H. Sanders Co. v. BHAP Hous. Dev. Fund Co., 903 F.2d 114, 118 (2d Cir. 1990);

Lomas & Nettleton Co. v. Pierce, 636 F.2d 971, 973 (5th Cir. 1981); Bor-Son Bldg. Corp. v.

Heller, 572 F.2d 174, 181 (8th Cir. 1978); Lindy v. Lynn, 501 F.2d 1367, 1368 (3d Cir. 1974).

          AMB cites a host of cases for the supposed proposition that sue-and-be-sued clauses can

provide district court jurisdiction over contract claims against the United States. See Motion at

5–6. But most of these cases are completely inapposite because they address jurisdiction under

statutes other than § 1702. See Martinez v. Bureau of Prisons, 444 F.3d 620, 622 (D.C. Cir.

2006) (addressing appellate jurisdiction under the Privacy Act, 5 U.S.C. § 552a(g)(5)); Auction

Co. of Am. v. FDIC, 132 F.3d 746, 751 (D.C. Cir. 1997) (addressing jurisdiction under FIRREA,


   1
     The operative language in Fannie Mae’s sue-and-be-sued clause is identical to FHA’s sue-
and-be-sued clause. Compare 12 U.S.C. § 1723a(a) (Fannie Mae “shall have power . . . to sue
and to be sued, and to complain and to defend, in any court of competent jurisdiction, State or
Federal.”) with 12 U.S.C. § 1702 (“The (HUD) Secretary shall, . . . be authorized, in his official
capacity, to sue and be sued in any court of competent jurisdiction, State or Federal.”)
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12 U.S.C. § 1819(a)–(b)); FDIC v. Hulsey, 22 F.3d 1472, 1480 (10th Cir. 1994) (same); Far

West Fed. Bank, S.B. v. Office of Thrift Supervision, 930 F.2d 883, 887–89 (Fed. Cir. 1991)

(same). The issue is not whether any statute containing a sue-and-be-sued clause can also grant

subject-matter jurisdiction; rather, the issue is whether § 1702 does so. Again, Lightfoot could

not be clearer on this point: The language in § 1702 does not confer subject-matter jurisdiction.

                    B.     28 U.S.C. § 1331 Does Not Grant Subject-Matter Jurisdiction
                           for AMB’s Contract Claim

            Because § 1702 does not grant jurisdiction, AMB must look elsewhere to establish that

this Court has subject-matter jurisdiction over its contract claim. In its complaint, AMB cites 28

U.S.C. § 1331, 2 the general federal-question jurisdiction statute, as a basis for jurisdiction.

AMB’s Motion for Reconsideration also cites Trans-Bay Engineers & Builders, Inc. v. Hills, 551

F.2d 370, 376 (D.C. Cir. 1976), which held that § 1331 conferred jurisdiction for certain

contract-based claims against the government. Motion at 5. Properly understood, however,

§ 1331 does not provide jurisdiction here.

            Contract claims for damages against the United States are governed by the Tucker Act,

28 U.S.C. § 1491(a)(1), 3 and the Little Tucker Act, 28 U.S.C. § 1346(a)(2). 4 Read together,




     Section 1331 provides that “[t]he district courts shall have original jurisdiction of all civil
      2

actions arising under the Constitution, laws, or treaties of the United States.”
  3
      Section 1491(a)(1) provides:

          The United States Court of Federal Claims shall have jurisdiction to render judgment upon
          any claim against the United States founded either upon the Constitution, or any Act of
          Congress or any regulation of an executive department, or upon any express or implied
          contract with the United States . . .
      4
          Section 1346(a)(2) provides:



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these statutes “provide for exclusive jurisdiction in the Court of Federal Claims for contract

disputes seeking more than $10,000 in damages.” Franklin-Mason v. Mabus, 742 F.3d 1051,

1055 (D.C. Cir. 2014). Nonetheless, a district court could have jurisdiction over a Tucker Act

claim if another statute independently waived sovereign immunity and conferred jurisdiction.

See Bowen, 487 U.S. at 910 n.48 (“Rather, [the Court of Federal Claim’s] jurisdiction is

‘exclusive’ only to the extent that Congress has not granted any other court authority to hear the

claims that may be decided by the Claims Court.”). Thus, the D.C. Circuit has held that “while

the Tucker Act and Little Tucker Act create a presumption of exclusive jurisdiction in the Court

of Federal Claims, . . . that presumption can be overcome by an independent statutory grant to

another court.” Franklin-Mason, 742 F.3d at 1055 (quotation omitted).

       As courts in this district have previously held, § 1331 is not an independent statutory

grant for contract damages claims against the government. The case of Molton, Allen &

Williams, Inc. v. Harris, 436 F. Supp. 853 (D.D.C. 1977), is directly on point. There, as here, the

plaintiff brought suit under § 1702’s sue-and-be-sued clause. Id. at 854. Noting that § 1702 is

not a jurisdictional grant (id. at 855), the court considered whether § 1331 conferred jurisdiction

to district courts for contract claims over $10,000. The plaintiff argued that because the federal

common law of contract provided the rule of decision, federal-question jurisdiction existed. But

the court rejected this view, noting that such a rule would impermissibly narrow the Tucker Act’s

grant of exclusive jurisdiction:

               It seems obvious that plaintiff’s argument does not state the proper
               rule. If plaintiff’s argument were to prevail, every Government

     The district courts shall have original jurisdiction, concurrent with the United States Court
     of Federal Claims of: . . . (2) Any other civil action, or claim against the United States, not
     exceeding $10,000 in amount, founded either upon the Constitution, or any Act of
     Congress, or any regulation of an executive department, or upon any express or implied
     contract with the United States . . .
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               contracts case where the waiver of sovereign immunity was not
               dependent solely on the Tucker Act could be brought in a federal
               district court because the federal common law of contracts provides
               the rules of decision in all Government contracts cases.

Id. at 856. Thus, the court held, “there is no federal question jurisdiction in the instant action on

the basis of federal common law.” Id. at 857.

       The decision in Molton is correct. Congress enacted the jurisdictional scheme in the

Tucker Act and Little Tucker Act long before it enacted § 1331. Broughton Lumber Co. v.

Yeutter, 939 F.2d 1547, 1556 (Fed. Cir. 1991). Courts must presume that the specific grant of

jurisdiction to the Court of Federal Claims for contract damages claims over $10,000 controls

over the general grant of jurisdiction in § 1331 for “all civil actions arising under the . . . laws

. . . of the United States.” Cf. id. at 1557 (holding that § 1331’s general jurisdictional grant did

not override the Tucker Act’s specific jurisdictional grant to the Court of Federal Claims for

Fifth Amendment Takings claims over $10,000). When Congress, through the Little Tucker Act,

granted concurrent jurisdiction to district courts to hear contract damages claims under $10,000,

it implicitly restricted district courts’ ability to hear cases over that amount. A rule permitting

district courts to entertain contract claims for damages over $10,000 would override the

deliberate jurisdictional scheme Congress enacted through the Tucker Act and Little Tucker Act.

       Admittedly, courts are split on this issue. Compare, e.g., Marceau v. Blackfeet Hous.

Auth., 455 F.3d 974, 986 & n.6 (9th Cir. 2006), opinion readopted in relevant part, 540 F.3d

916, 929 (9th Cir. 2008) (holding that “where a case falls under Tucker Act jurisdiction, federal

question jurisdiction cannot serve as an alternative basis for jurisdiction”), with W. Sec. Co.,

Subsidiary of Universal Mortg. Corp. v. Derwinski, 937 F.2d 1276, 1280 (7th Cir. 1991)

(holding that district court had federal-question jurisdiction over suit to enforce a contract against

a federal agency because federal common law governed the claim). And, notwithstanding the

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clarity of this district’s Molton decision, at least one case in this district reached a different result.

See Yee v. Jewell, 228 F. Supp. 3d 48, 53 (D.D.C. 2017) (in breach-of-contract case, holding that

federal question existed on the basis of federal common law). 5

        AMB cites Trans-Bay Engineers & Builders, Inc. v. Hills, 551 F.2d 370 (D.C. Cir. 1976).

See Motion at 5. But that case is not controlling here. In Trans-Bay, the plaintiff, as a third-

party beneficiary, sued the HUD Secretary for suretyship and equitable lien/unjust enrichment.

Id. at 375. The plaintiff’s claims were “not rooted in a contract” between HUD and the plaintiff,

but rather on “equitable rights generated by HUD’s course of activities.” Id. at 377. Within that

context, the D.C. Circuit held that federal-question jurisdiction existed under § 1331 due to the

application of federal common law over the plaintiff’s equitable claims. Id. at 378.

        The nature of relief sought in Trans-Bay is critical to an understanding of its holding.

The Tucker Act, of course, confers jurisdiction on the Court of Federal Claims only for claims

seeking monetary damages, and that court lacks power to grant equitable relief. See, e.g.,

Richardson v. Morris, 409 U.S. 464, 465 (1973) (the Tucker Act “has long been construed as

authorizing only actions for money judgments and not suits for equitable relief against the United

States” and noting that “the Court of Claims has no power to grant equitable relief”). By holding

that federal-question jurisdiction existed for equitable claims against the government, Trans-Bay

did not impinge on the Tucker Act’s grant of exclusive jurisdiction for monetary claims. See


    5
     Yee appears to have been decided on a record that was not fully matured. In fact, within one
month of the district court’s order, the court transferred the case to the Court of Federal Claims.
See Case No. 16-490 (RDM), Dkt 17. Yee’s holding also relies upon the Ninth Circuit case N.
Side Lumber Co. v. Block, 753 F.2d 1482 (9th Cir. 1985), but that case does not support a
holding that § 1331 provides subject-matter jurisdiction for breach-of-contract suits against the
government. As noted above, the Ninth Circuit has explicitly held that district courts lack
subject-matter jurisdiction in these circumstances. See Marceau, 455 F.3d at 986 & n.6.
Because Yee relies on a misinterpretation of Ninth Circuit law, there is no reason to follow its
holding here. In contrast, Molton relies on firm reasoning that supports this Court’s Order.
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Molton, 436 F. Supp. at 857 (holding that a close analysis of Trans-Bay did not support a finding

that § 1331 provided subject-matter jurisdiction for contract damages claims). Here, in contrast,

AMB’s contract-based claim seeks monetary relief, just as this Court noted in its Memorandum

Opinion and Order. See Order at 7–8 (holding AMB could not bypass Tucker Act jurisdiction

because its good-faith-and-fair-dealing claim “in essence” seeks monetary relief). Thus, the rule

of Trans-Bay is not implicated here, and this Court correctly dismissed the contract claim for

lack of jurisdiction.

        III.    A Dismissal with Prejudice Prevents AMB from Refiling in This Court

        Contrary to AMB’s assertion, a dismissal with prejudice for lack of jurisdiction only bars

AMB from refiling its claims in this Court. 6 See Semtek Int’l Inc. v. Lockheed Martin Corp., 531

U.S. 497, 505 (2001) (“The primary meaning of ‘dismissal without prejudice,’ we think, is

dismissal without barring the defendant from returning later, to the same court, with the same

underlying claim.”); Styskal v. Weld County Bd. of County Comm’rs, 365 F.3d 855, 859 (10th

Cir. 2004) (“[W]hen a [federal] court rules that a dismissal is with prejudice, it is saying only

that the claim cannot be refiled in that court.”). On the other hand, had the Court dismissed

without prejudice, AMB may have been free to re-plead the contract claim here. See Attias v.

CareFirst, Inc., 865 F.3d 620, 625 (D.C. Cir. 2017) (“By dismissing without prejudice, a district

court leaves the plaintiff free to return later to the same court with the same underlying claim.”)

(citing Semtek, 531 U.S. at 505).




    6
     AMB asserts that it should be free to refile its contract claim in the Court of Federal Claims.
Motion at 7. Although there may be other bars to filing this case in the Court of Federal Claims,
the Court’s dismissal with prejudice is not one of them.
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       IV.     The Court Correctly Held that the Remaining APA Claim Would Not be
               Certified as a Class

       The Court did not clearly err in holding that the APA claim “only remains cognizable to

the extent it challenges the AJ’s decision as arbitrary and capricious.” Order at 13. Limiting

review to the AJ Decision necessarily precludes class treatment. The Court’s review of the AJ

Decision is akin to an appellate review. See Pac. Ranger, LLC v. Pritzker, 211 F. Supp. 3d 196,

210 (D.D.C. 2016) (“When a party seeks review of agency action under the APA, the district

judge sits as an appellate tribunal. The entire case on review is a question of law.”) (internal

marks omitted) (quoting Am. Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C. Cir.

2001)); accord Nickel v. Melson, 825 F. Supp. 2d 187, 192 (D.D.C. 2011) (Huvelle, J.). AMB

was the only party to the administrative proceedings in this case and the only party affected by

the AJ Decision: only AMB can claim to have been injured by the AJ Decision, and only AMB

will be remedied by this Court’s review of that decision. For this reason, the Court’s review of

the AJ Decision will not resolve any more than AMB’s claims, and thus no class could be

certified. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348–49 (2011) (“[A] class

representative must be part of the class and possess the same interest and suffer the same injury

as the class members.”); Brewer v. Holder, 20 F. Supp. 3d 4, 14 (D.D.C. 2014) (“[A] putative

class member who did not suffer the same injury as the putative class lacks standing to bring the

class claim.”) (citing Arnold v. Postmaster General, 667 F. Supp. 6, 20 (D.C. Cir. 1987)).

       AMB argues that there are common issues in the putative class. Motion at 10. But even

if that were true, common issues are not enough. Review of the plaintiff’s case must instead

drive class-wide resolution. See Thorpe v. Dist. of Columbia, 303 F.R.D. 120, 145 (D.D.C.

2014) (“What matters to class certification is not the raising of common ‘questions’ – even in

droves – but, rather the capacity of a classwide proceeding to generate common answers apt to

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drive the resolution of the litigation.”) (Huvelle, J.) (quoting Walmart, 564 U.S. at 350). The

Court’s review in this case will only resolve whether the AJ Decision was arbitrary and

capricious; it will not drive class-wide resolution.

       Moreover, class certification is unavailable because the administrative record does not

address any other potential class members. The Court will only review the administrative record,

and may not consider issues outside the record. Order at 13; see CTS Corp. v. EPA, 759 F.3d 52,

64 (D.C. Cir. 2014) (“It is black-letter administrative law that in an Administrative Procedure

Act case, a reviewing court should have before it neither more nor less information than did the

agency when it made its decision.”) (internal marks omitted); Pac. Ranger, 211 F. Supp. 3d at

209–10 (“The district court is tasked only with determining whether or not as a matter of law the

evidence in the administrative record permitted the agency to make the decision it did.”) (internal

marks and citation omitted). The record in this case consists of the parties’ briefing before the

AJ, which only addressed AMB’s claims and arguments. The record does not address the facts

or arguments of any other potential parties.

       AMB argues that other courts have certified classes in APA cases before. Motion at 9-

10. But none of the cases cited by AMB were limited to reviewing an administrative judge’s

decision, as the Court is here. See Steele v. United States, 159 F Supp. 3d 73, 76 (D.D.C 2016)

(reviewing challenge to IRS regulations imposing fee on tax preparers); Salazar v. King, 822

F.3d 61, 70–71 (2d Cir. 2016) (reviewing allegations that agency failed to comply with law and

regulations requiring discharge of certain student debts); Cohen v. United States, 650 F.3d 717,

719–22, 732 (D.C. Cir. 2011) (challenging adequacy of IRS Notice establishing refund

procedures for incorrectly collected excises taxes; and distinguishing those class action claims

from a review of an IRS tax refund adjudication where “the relief would be individualized, not


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class wide”); Vietnam Veterans of Am. v. C.I.A., 288 F.R.D 192, 201 (N.D. Cal 2012)

(challenging department of defense procedures addressing military experiments on service

members); Roshandel v. Chertoff, 554 F. Supp. 2d 1194, 1198 (W.D. Wash 2008) (challenging

FBI delay in processing naturalization applications).

       AMB also half-heartedly argues that it was deprived of due process because the Court did

not allow AMB to move for class certification. Motion at 9. But AMB does not cite any cases

holding that courts must accept briefing on class certification before deciding whether

certification is appropriate. To the contrary, the Court must decide whether to certify a class

“[a]t an early practicable time after a person sues or is sued as a class representative.” Fed. R.

Civ. P. 23(c)(1)(A).

       Again, the Court’s holding on class certification was merely the natural result of its

decision on AMB’s APA claim. Having correctly limited the APA claim to a record-review of

the AJ Decision, further consideration of class certification would be futile, and AMB does not

have a due process right to consideration of a futile class certification motion. On the contrary,

where a ruling on a motion to dismiss moots the class claims, as is the case here, the Court may

dismiss the putative class without considering a motion for certification. See Greenlee County,

Ariz. v. United States, 487 F.3d 871, 880 (Fed. Cir. 2007) (“[W]e have repeatedly found on

appeal that issues related to class certification were moot in light of our resolution against the

plaintiff of a motion to dismiss.”).

       Due process requires only that AMB be given notice and opportunity to be heard before

depriving it of a constitutionally protected interest. Gen. Elec. Co. v. Jackson, 610 F.3d 110, 117

(D.C. Cir. 2010) (“Only after finding the deprivation of a protected interest do[es] [the Court]

look to see if the government’s procedures comport with due process.”). AMB offers no


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authority to demonstrate that it has a constitutionally protected interest in having a class certified;

nor that it was deprived of that alleged protected interest without adequate due process. AMB

does not have a constitutional right to a class; the certification decision is instead committed to

the sound discretion of the district court. See Daskalea v. Wash. Humane Soc’y, 275 F.R.D. 346,

356 (D.D.C. 2011) (“Because district courts are uniquely well situated to make class certification

decisions, they exercise broad discretion in deciding whether to permit a case to proceed as a

class action.”). AMB has not demonstrated that the Court clearly erred in ruling out class

treatment here; the Court was instead correct to do so.

                                          CONCLUSION

       For the foregoing reasons, the Court should deny AMB’s motion for reconsideration.

Respectfully submitted this 12th day of October, 2017.

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                                               Acting Assistant Attorney General

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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 12, 2017, I electronically filed the foregoing

Defendant’s Opposition to Plaintiff’s Motion for Reconsideration with the Clerk of the Court by

using the CM/ECF system which will send a notice of electronic filing to all CM/ECF

participants.

                                                   s/ Kevin P. VanLandingham
                                                   KEVIN P. VANLANDINGHAM
